      Case 3:10-cv-11615-MAP Document 4 Filed 01/07/11 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
KAREN YVON,                         )
                                    )
                  Plaintiff,        )
                                    )                 Civil Action No. 10-11615-MAP
v.                                  )
                                    )
NIAGARA CREDIT SOLUTIONS, INC. )
and JANE DOE                        )
                  Defendants.       )
___________________________________ )


                              VOLUNTARY DISMISSAL

       The plaintiff, KAREN YVON, by and through counsel, gives notice, pursuant to
Fed. R. Civ. P. 41(a)(1), of the dismissal of this action with prejudice and without costs,


       Respectfully submitted, this 7th day of January, 2011.


                                                      KAREN YVON,
                                                      by her attorney,

                                                      /s/ Nicholas F. Ortiz
                                                      ______________________
                                                      Nicholas F. Ortiz, BBO# 655135
                                                      Law Office of Nicholas F. Ortiz, P.C.
                                                      306 Dartmouth Street
                                                      Suite 501
                                                      Boston, MA 02116
                                                      (617) 716-0282




                                             1
